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                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

 ADAM ROSS,
           Plaintiff,                        CASE NO. 1:18-cv-01258-WTL-TAB

 v.

 BALL STATE UNIVERSITY,
           Defendant.

                              CASE MANAGEMENT PLAN

 I.    Parties and Representatives

 A.    Plaintiff:                     Adam Ross

                                      Plaintiff’s Counsel:
                                      Brett Errol Osborne HOCKER &
                                      ASSOCIATES LLC
                                      6626 E. 75th St.
                                      Suite 410
                                      Indianapolis, IN 46250

 B.    Defendants:                    Ball State University Board of Trustees

       Defendants’ Counsel:           Scott E. Shockley #2153-18
                                      Maura J. Hoff #25475-49
                                      Matthew L. Kelsey #29313-49
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       Counsel shall promptly file a notice with the Clerk if there is any change in this
       information.



 II.   Jurisdiction and Statement of Claims

       A.     Jurisdiction: This is an action brought pursuant to the Educational Amendments of
              1972, 20 U.S.C. Sec. 1681 et seq. as well as pendent state law claims. This court
              has original jurisdiction over a federal question, 28 U.S.C. Sec. 1331.


       B.     Plaintiffs’ Synopsis: In September 2015, Plaintiff, Adam Ross, was invited by
       Jane Doe to her on-campus (Ball State University) room. While in the room, with Jane
       Doe and her roommate, neither of which were intoxicated, Mr. Ross, while intoxicated,
       went to sleep in Jane Doe’s bed. Shortly thereafter, Jane Doe got into bed with Mr. Ross,
       and the two engaged in sexual activity, initially described as consensual, while
       intoxicated, by Mr. Ross and as sexual assault by Jane Doe.

       On November 13, 2015, Mr. Ross was advised of Ball State University’s Title IX
       investigation of the events of September 2015, with Jane Doe being the Complainant and
       Mr. Ross being the Respondent. Thereafter an investigation and hearing were conducted
       by Ball State University and, after being sanctioned, an appeal was taken by Mr. Ross,
       which was denied on April 25. 2016.

       On May 6, 2016, after the prior Title IX process concluded, Mr. Ross filed a Complaint
       against Jane Doe for the same events based on his assertion that he was too intoxicated to
       consent, and Jane Doe’s withholding information from the prior Title IX investigation.
       On September 18, 2016 the Title IX Coordinator determined that there was insufficient
       information to warrant Mr. Ross’ complaint or further investigation and closed the
       matter.

       Mr. Ross contends that during the course of the investigations, his rights were violated,
       under state and federal law, including violations of Title IX of the Education
       Amendments of 1972, negligence, and breach of contract. As a result, in addition to
       emotional distress, he was required to attend a University in another State at considerably
       more cost and expense.


       C.     Defendants’ Synopsis: In October, 2015, officials of Ball State University
       received a report of an alleged sexual assault reported by a female student, MK. The
       female student reported that Mr. Ross, who had been drinking, had been offered a place
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        to sleep on the floor in the room MK shared with her roommate. During the night, MK
        reported that the Mr. Ross forcibly removed her clothes and sexually assaulted her.

        In November, 2015, the University’s Title IX investigation team commenced an
        investigation and interviewed MK and Mr. Ross. Ball State maintains a policy in its
        Student Code that forbids sexual assault and provides for the investigation of such
        complaints and, where warranted, an internal disciplinary hearing into such matters. Mr.
        Ross was subsequently charged in March, 2016 with a violation of the policy, and a
        hearing was held on March 30, 2016 pursuant to the policy and the charge. Mr. Ross was
        found responsible at the hearing, and a sanction of a two year suspension was imposed.
        Mr. Ross appealed the finding, but his appeal was denied.

        The University maintains that Ball State’s internal Title IX policies regarding matters of
        campus sexual assault are appropriate and in compliance with governing law. Moreover,
        the University maintains those policies were properly applied in this case. The
        University denies that any rights of the Plaintiff under state or federal law were violated.

 III.   Pretrial Pleadings and Disclosures

        A.    The parties shall serve their Fed. R. Civ. P. 26 initial disclosures on or before
        August 27, 2018.

        B.     Plaintiff(s) shall file preliminary witness and exhibit lists on or before September
        4, 2018.

        C.    Defendant(s) shall file preliminary witness and exhibit lists on or before
        September 11, 2018.

        D.      All motions for leave to amend the pleadings and/or to join additional parties shall
        be filed on or before September 27, 2018.

        E.      Plaintiff(s) shall serve Defendant(s) (but not file with the Court) a statement of
        special damages, if any, and make a settlement demand, on or before September 27,
        2018.     Defendant shall serve on the Plaintiff (but not file with the Court) a response
        thereto by October 26, 2018.

        F.      Plaintiff(s) shall disclose the name, address, and vita of any expert witness, and
        shall serve the report required by Fed. R. Civ. P. 26(a)(2) on or before April 25, 2019.
        Defendant(s) shall disclose the name, address, and vita of any expert witness, and shall
        serve the report required by Fed. R. Civ. P. 26(a)(2) on or before 30 days after Plaintiff(s)
        serves its expert witness disclosure; or if none, Defendant(s) shall make its expert
        disclosure on or before May 28, 2019.
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      G.      If a party intends to use expert testimony in connection with a motion for
      summary judgment to be filed by that party, such expert disclosures must be served on
      opposing counsel no later than 60 days prior to the dispositive motion deadline. If such
      expert disclosures are served the parties shall confer within 7 days to stipulate to a date
      for responsive disclosures (if any) and completion of expert discovery necessary for
      efficient resolution of the anticipated motion for summary judgment. The parties shall
      make good faith efforts to avoid requesting enlargements of the dispositive motions
      deadline and related briefing deadlines. Any proposed modifications of the CMP
      deadlines or briefing schedule must be approved by the court.

      H.     Any party who wishes to limit or preclude expert testimony at trial shall file any
      such objections no later than 120 days before trial. Any party who wishes to preclude
      expert witness testimony at the summary judgment stage shall file any such objections
      with their responsive brief within the briefing schedule established by Local Rule 56-1.

      I.     All parties shall file and serve their final witness and exhibit lists on or before
      June 25, 2019.

      J.      Any party who believes that bifurcation of discovery and/or trial is appropriate
      with respect to any issue or claim shall notify the Court as soon as practicable.

      K.      The parties have discussed preservation and disclosure of electronically stored
      discovery information, including a timetable for making the materials available to the
      opposing party. The parties will address any issues related to preservation or cost sharing
      as they arise during discovery. The parties have agreed that documents will be produced
      without metadata, unless specifically requested by either party. The parties have also
      agreed that, to the extent any electronic documents containing privileged information are
      produced inadvertently, the default provisions of Rule 26(b)(5) shall apply.

                At this time, the ESI the parties believe will require discovery include content of
       mobile phones or similar devices and electronically stored records of Ball State
       University, such as pertinent emails of persons involved in the case. It is not anticipated
       that the volume of ESI will be great.


       IV.    Discovery and Dispositive Motions

      Due to the time and expense involved in conducting expert witness depositions and other
      discovery, as well as preparing and resolving dispositive motions, the Court requires
      counsel to use the CMP as an opportunity to seriously explore whether this case is
      appropriate for such motions (including specifically motions for summary judgment),
      whether expert witnesses will be needed, and how long discovery should continue. To
      this end, counsel must select the track set forth below that they believe best suits this
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       case. If the parties are unable to agree on a track, the parties must: (1) state this fact in
       the CMP where indicated below; (2) indicate which track each counsel believes is most
       appropriate; and (3) provide a brief statement supporting the reasons for the track each
       counsel believes is most appropriate. If the parties are unable to agree on a track, the
       Court will pick the track it finds most appropriate, based upon the contents of the CMP
       or, if necessary, after receiving additional input at an initial pretrial conference.

      A.      Ball State anticipates the possibility of filing dispositive motions at this time. The
              facts as known to Ball State indicate that the process to which Mr. Ross was
              entitled under governing law was followed and appropriate in this case. He was
              afforded notice of the complaint and participated in the investigation; he was
              afforded Notice of the Charge and participated in the hearing; he had a right to an
              internal appeal and exercised that right. These facts, and the subordinate detail,
              Ball State believes are dispositive of any Title IX claim.

      B.      On or before                   , and consistent with the certification provisions of
              Fed. R. Civ. P. 11(b), Plaintiff shall file a statement of the claims he intends to
              prove at trial, stating specifically the legal theories upon which the claims or
              defenses are based.

      C.      Select the track that best suits this case:

              Track 1: No dispositive motions are anticipated.

          X Track 2: Dispositive motions are expected and shall be filed by April 25, 2019
      ; non-expert witness discovery and discovery relating to liability issues shall be
      completed by February 25, 2019; expert witness discovery and discovery relating to
      damages shall be completed by July 25, 2019.

              Track 3: Dispositive motions are expected and shall be filed no later than
      _____________ [no later than 11 months from Anchor Date]; expert witness discovery
      that may be necessary at the dispositive motions stage shall be completed by
      [no later than 7-10 months from Anchor Date]; all remaining discovery shall be
      completed by [no later than 12-16 months from Anchor Date]. [Note: The Court expects
      that this will not be the typical track when dispositive motions are anticipated.]

              Track 4: Dispositive motions shall be filed by                [not later than 13
       months from the Anchor Date]; non-expert discovery shall be completed by __________;
       expert witness discovery shall be completed by                . [Note: The Court provides
       Track 4 as an open option because it recognizes that there may be unusual cases for
       which special circumstances necessitate additional flexibility. However, the Court has
       found that Tracks 1-3 are appropriate in the large majority of cases, and therefore the
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        parties must briefly state below the special circumstances justifying a departure from
        Tracks 1-3.]

        Absent leave of court, and for good cause shown, all issues raised on summary judgment
        under Fed. R. Civ. P. 56 must be raised by a party in a single motion.


 V.     Pre-Trial/Settlement Conferences

        There is currently scheduled an initial pre-trial conference on August 16, 2018 at 9:30
 a.m. The parties and the Court will confer at the initial pre-trial concerning a suitable date for
 any settlement conference.

 VI.    Trial Date

        The parties request a trial date in December, 2019
        The trial is by jury and is anticipated to take three (3) to (4) days.



 VII.   Referral to Magistrate Judge

        The parties have not currently filed consents for referral to the Magistrate Judge..

 VIII. Required Pre-Trial Preparation

        A.     TWO WEEKS BEFORE THE FINAL PRETRIAL CONFERENCE, the
        parties shall:

                1.      File a list of trial witnesses, by name, who are expected to be called to
                        testify at trial. This list may not include any witness not on a party’s final
                        witness list filed pursuant to Section III.

                2.      Number in sequential order all exhibits, including graphs, charts and the
                        like, that will be used during the trial. Provide the Court with a list of
                        these exhibits, including a description of each exhibit and the identifying
                        designation. Make the original exhibits available for inspection by
                        opposing counsel. Stipulations as to the authenticity and admissibility of
                        exhibits are encouraged to the greatest extent possible.

                3.      Submit all stipulations of facts in writing to the Court. Stipulations are
                        always encouraged so that at trial, counsel can concentrate on relevant
                        contested facts.
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             4.   A party who intends to offer any depositions into evidence during the
                  party's case in chief shall prepare and file with the Court and copy to all
                  opposing parties either:

                  a.      brief written summaries of the relevant facts in the depositions that
                          will be offered. (Because such a summary will be used in lieu of
                          the actual deposition testimony to eliminate time reading
                          depositions in a question and answer format, this is strongly
                          encouraged.); or

                  b.      if a summary is inappropriate, a document which lists the portions
                          of the deposition(s), including the specific page and line numbers,
                          that will be read, or, in the event of a video-taped deposition, the
                          portions of the deposition that will be played, designated
                          specifically by counter-numbers.

             5.   Provide all other parties and the Court with any trial briefs and motions in
                  limine, along with all proposed jury instructions, voir dire questions, and
                  areas of inquiry for voir dire (or, if the trial is to the Court, with proposed
                  findings of fact and conclusions of law).

             6.   Notify the Court and opposing counsel of the anticipated use of any
                  evidence presentation equipment.

      B.     ONE WEEK BEFORE THE FINAL PRETRIAL CONFERENCE, the
      parties shall:

             1.   Notify opposing counsel in writing of any objections to the proposed
                  exhibits. If the parties desire a ruling on the objection prior to trial, a
                  motion should be filed noting the objection and a description and
                  designation of the exhibit, the basis of the objection, and the legal
                  authorities supporting the objection.

             2.   If a party has an objection to the deposition summary or to a designated
                  portion of a deposition that will be offered at trial, or if a party intends to
                  offer additional portions at trial in response to the opponent's designation,
                  and the parties desire a ruling on the objection prior to trial, the party shall
                  submit the objections and counter summaries or designations to the Court
                  in writing. Any objections shall be made in the same manner as for
                  proposed exhibits. However, in the case of objections to video-taped
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                     depositions, the objections shall be brought to the Court's immediate
                     attention to allow adequate time for editing of the deposition prior to trial.

              3.     File objections to any motions in limine, proposed instructions, and voir
                     dire questions submitted by the opposing parties.

              4.     Notify the Court and opposing counsel of requests for separation of
                     witnesses at trial.

 IX.   Other Matters. None at this time.


       Respectfully Submitted this 8th day of August, 2017.

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     X            PARTIES APPEARED BY COUNSEL ON AUGUST 16, 2018,
                  FOR AN INITIAL PRETRIAL CONFERENCE.

                  APPROVED AS SUBMITTED.

      X           APPROVED AS AMENDED.

                  APPROVED AS AMENDED PER SEPARATE ORDER.

                  APPROVED, BUT ALL OF THE FOREGOING DEADLINES ARE
                  SHORTENED/LENGTHENED BY ______________ MONTHS.

                  APPROVED, BUT THE DEADLINES SET IN SECTION(S)
                       _______________ OF THE PLAN IS/ARE
                  SHORTENED/LENGTHENED BY ______________ MONTHS.

                  THIS MATTER IS SET FOR TRIAL BY                     ON
                  _____________________________. FINAL PRETRIAL
                  CONFERENCE IS SCHEDULED FOR
                  _______________________________________ AT            .M.,
                  ROOM                   .

     X            A STATUS CONFERENCE IS SET IN REGARDS TO SETTLEMENT
                  FOR DECEMBER 19, 2018, AT 10:30 A.M. COUNSEL SHALL
                  APPEAR:

                                IN PERSON IN ROOM          ; OR

                        X        BY TELEPHONE. THE INFORMATION NEEDED
                    BY COUNSEL OF RECORD TO PARTICIPATE IN THIS
                    TELEPHONIC CONFERENCE WILL BE PROVIDED BY
                    SEPARATE NOTIFICATION.


     X            DISPOSITIVE MOTIONS SHALL BE FILED NO LATER THAN APRIL
                  25, 2019.

 ____X__________ DISCOVERY SHALL BE COMPLETED BY FEBRUARY 25, 2019.
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        Upon approval, this Plan constitutes an Order of the Court. Failure to comply with an
 Order of the Court may result in sanctions for contempt, or as provided under Rule 16(f), to and
 including dismissal or default.

  Approved and So Ordered.



  Date: 8/21/2018




 All ECF-registered counsel of record via email
